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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WILLIAM DUKES


       Plaintiff,

               vs.                               Case No.

CHICAGO POLICE SERGEANT
JAMES WASHBURN, # 20372
CHICAGO POLICE DETECTIVE
ROLANDO RODRIGUEZ, # 20751
CICERO POLICE DETECTIVE DARLENE
SOBCZAK, # 123
CICERO POLICE DETECTIVE ROBERT
DONEGAN, #488
CICERO POLICE DETECTIVE ALLAN
PINEDA, #496
COOK COUNTY STATES ATTORNEY
INVESTIGATOR BRIAN KILLACKY, #361
COOK COUNTY STATES ATTORNEY KIM FOXX
CITY OF CHICAGO,
CITY OF CICERO



       Defendants.                               JURY TRIAL DEMANDED

                                     COMPLAINT

       NOW COMES the Plaintiff, WILLIAM DUKES by and through his attorneys Stephen

L. Richards and Joshua S.M. Richards and makes the following complaint against Defendants

CHICAGO POLICE SERGEANT JAMES WASHBURN, # 20372, CHICAGO POLICE

DETECTIVE ROLANDO RODRIGUEZ, # 20751, CICERO POLICE DETECTIVE

DARLENE SOBCZAK, # 1123, CICERO POLICE DETECTIVE ROBERT DONEGAN,

#488. CICERO POLICE DETECTIVE ALLAN PINEDA, #496, COOK COUNTY STATES
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ATTORNEY INVESTIGATOR BRIAN KILLACKY, #361, COOK COUNTY STATES

ATTORNEY KIM FOXX, CITY OF CHICAGO, CITY OF CICERO.

In support thereof, WILLIAM DUKES states as follows:



                                      JURISDICTION

   1. This action is brought pursuant to 42 U.S.C. Sec. 1983 to redress the deprivation of law

      of William Dukes’s civil rights as secured by the United States Constitution.


   2. This court has jurisdiction of the action pursuant to 28 U.S.C. Secs. 1331, 1343, 1367.



                                          VENUE

   3. Venue is proper under 28 U.S.C. Sec. 1391(b).


                                         PARTIES

   4. Plaintiff William Dukes is a male person who is a United States Citizen and a resident

      of Cook County, Illinois.

   5. Chicago Police Sergeant James Washburn is and at all times relevant to this suit a

      detective in the Chicago Police Department. His star number is 20372. He is sued in

      his individual capacity.

   6. Chicago Police Detective Rolando Rodriguez is and at all times relevant to this suit a

      detective in the Chicago Police Department. His star number is # 20751. He is sued in

      his individual capacity.
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7. Cicero Police Detective Darlene Sobczak was at all times relevant to this suit a

   detective in the Cicero Police Department. Her star number is # 1123. She is sued in

   her individual capacity.

8. Cicero Police Detective Robert Donegan was at all times relevant to this suit a detective

   in the Cicero Police Department. His star number is #488. He is sued in his individual

   capacity.

9. Cicero Police Detective Allan Pineda was at all times relevant to this suit a detective in

   the Cicero Police Department. His star number is #496. He is sued in his individual

   capacity.

10. Cook County States Attorney Investigator Brian Killacky was at all times relevant to

   this suit was investigator with the Cook County States Attorney Office. His star number

   is #361. He is sued in his individual capacity.

11. Cook County States Attorney Kim Foxx, is the County City Of Chicago, City Of

   Cicero.

12. Defendant City of Chicago is a Municipal Corporation, organized pursuant to the laws

   of the State of Illinois.

13. Defendant City of Cicero is a Municipal Corporation, organized pursuant to the laws

   of the State of Illinois.
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                            FACTUAL ALLEGATIONS

                                 Procedural History

14. On April 14, 2004, William Dukes was arrested and charged with two murders, as well

   as home invasion residential burglary, attempt robbery and aggravated criminal sexuala

   assault.

15. On May 6, 2004, William Dukes was indicted for two murders, along with charges of

   home invasion, residential burglary, attempt robbery, and aggravated criminal sexual

   assault.

16. On William Dukes was convicted after a jury trial of two murders. On April 23, 2012,

   he was sentenced to life imprisonment.

17. On November 4, 2014, the Illinois appellate court reversed William Dukes’s conviction

   and remanded the case for a new trial. People v. Dukes, 2014 IL App 121541, ¶ 2 (

   2014) (Exhibit One).

18. On July 11, 2019, William Dukes was found not guilty after a bench trial, and released

   from custody.

19. William Dukes spent 5566 days in custody, or 15 years and 91 days.



                              Evidence at the First Trial

20. The following evidence was adduced against William Dukes at his first trial.

21. Marilyn Williams owned a house in Cicero. In the summer of 1993, she lived upstairs

   in the house with her daughter Lucy and Lucy's two children, Dustin, then 2 years old,

   and Bridget, who was 8. Marilyn rented part of the first floor to Marko Tomazovich.
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22. Sometime that summer Marilyn met plaintiff William Dukes . She leased a second unit

   on the first floor to Dukes for about two months. Lucy briefly engaged in a sexual

   relationship with Dukes that summer.

23. On July 23, 1993, Lucy told William Dukes that she was going to marry her longtime

   boyfriend, Kevin Rhynes, the next day. Dukes wished her good luck. Lucy had sex with

   Dukes that night and married Kevin at the courthouse the next day. Lucy and her

   children moved into Kevin's home, and Dukes moved out of Marilyn's house soon

   thereafter.

24. Tomazovich had a severe problem with substance abuse and addiction. Tomazovich's

   father helped him pay the rent, but by the summer of 1993, Tomazovich's father

   decided to stop giving Tomazovich money, and Tomazovich stopped paying rent.

25. Lucy handed Tomazovich an eviction notice for failure to pay the rent. Marilyn and

   Lucy told Tomazovich they just wanted him to move out. He said, "Fuck you, bitches; I

   ain't paying." Later, Tomazovich said to Marilyn, "One day, I'm going to get you when

   you're alone. You better watch your back. I'm going to kill you."

26. On August 28, 1993, Lucy left Bridget and Dustin with Marilyn while Lucy went to

   work her shift as a cocktail waitress from 5 p.m. until closing. She went to Marilyn's

   home the next morning.

27. Lucy found the front door ajar, and then she saw Dustin sleeping on a couch. Lucy

   found Marilyn and Bridget in the bathtub, dead. She picked up the telephone but heard

   no dial tone. She went down to Tomazovich's unit and banged on the door. When he

   answered, she told him to call 911. Tomazovich came upstairs with her and then went

   to a neighbor's home to call police.
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28. The medical examiner found that Bridget died when someone tied a ligature around her

   neck and cut off her air. Tears on her vagina indicated that she had been raped shortly

   before her death. Marilyn died from suffocation. Her head bore marks showing the

   result of blunt force trauma shortly before death.

29. Police recovered a blood-soaked comforter from Marilyn's home. The police

   laboratory's tests showed that the blood matched Bridget's blood. Police also found

   several hairs on the comforter. From Tomazovich's unit, police obtained a bloody t-shirt

   and bloody jeans. Laboratory tests indicated that the blood matched Tomazovich and

   not Bridget or Marilyn.

30. In an initial interview on August 29, 1993, Tomazovich told defendant Cicero police

   detective Darlene Sobczak that he knew nothing about the murders. He told Sobczak

   that he bled on his shirt and jeans in a fight at a bar. He also said he bled on the clothes

   during a fight in the woods.

31. In October 1994, police arrested Tomazovich for two robberies. Tomazovich pled

   guilty and the court sentenced him to six years in prison.

32. In March 1995, Sobczak again interviewed Tomazovich about the murders of Marilyn

   and Bridget because he remained a suspect in the case. Tomazovich again said he knew

   nothing about the murders. But he changed his story when Sobczak interviewed him in

   August 1995. Tomazovich then said that he watched while Dukes murdered Marilyn

   and raped and murdered Bridget.

33. Police arrested Dukes in August 1995. Officers found part of Lucy's drivers license in

   Dukes's wallet. Dukes told Sobczak he knew nothing about the murders, and he had not
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   gone to Marilyn's house on the night of the murders. Police released Dukes without

   charging him.

34. Police arrested Tomazovich again in 1998. Again police asked him about the murders.

   This time, Tomazovich said that he held Marilyn's legs while Dukes choked her.

   Prosecutors charged Tomazovich with the murders of Marilyn and Bridget.

35. Five years later, in October 2003, Tomazovich agreed to plead guilty to home invasion

   and to testify against Dukes in exchange for the dismissal of charges against him for the

   murders of Marilyn and Bridget.

36. Also in October 2003, defendant Brian Killacky acting under cover tried to induce

   Dukes to confess to the murders. The officer did not succeed. Instead, officers arrested

   Dukes on drug charges in January 2004.

37. William Dukes was arrested on January 9, 2004 and questioned for approximately 36

   hours.

38. On January 10, 2004, defendant Washburn questioned Dukes. According to

   Washburn, he asked what type of sentence Dukes thought he could get for a double

   homicide and Dukes said replied: "the needle."

39. Washburn claimed that Dukes then said he wanted to tell Washburn about his

   participation in the murders of Marilyn and Bridget. First, Dukes wanted to make some

   phone calls.

40. Washburn claimed that after the calls, Dukes said he would make a statement about his

   participation in the murders if the State promised not to seek the death penalty.

   Washburn said he needed to speak to his supervisor. When he returned, Washburn said,

   "State's Attorney's office wants to know exactly what you're going to say in your
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   statement regarding the murders." Washburn claimed that Dukes said, "[W]ell, I'm

   going to tell them about my participation in the murders of Marilyn and Bridget."

   Washburn asked, "What are you going to say? That you killed Marilyn and Bridget?"

   Dukes answered, "[Y]es, yes, I am."

41. Before trial, Dukes filed a motion to suppress the discussions he had with Washburn,

   and Cook County Assistant States Attorney Papa, as plea negotiations. The trial court

   denied the motion in pertinent part.

42. At the jury trial, the State presented an expert on hair comparison, who testified that

   two hairs found on the blood-soaked comforter appeared to be pubic hairs. Those hairs

   matched Dukes's hair, and they did not match Tomazovich's hair or the other hair

   samples police took, including hairs of Marilyn and Bridget.

43. The expert also looked at other hairs from the comforter, and found the hairs did not

   match Dukes, Tomazovich, Marilyn, Bridget, or any other hair samples prosecutors

   asked the expert to compare to the hairs from the comforter. The expert admitted that

   nothing about the hairs indicated when or how the hair arrived at the comforter, and she

   did not conclude from the unidentified hairs that other persons participated in the

   crimes.

44. The expert admitted that Bridget or Marilyn or anyone else who came to their home

   could have picked up the unidentified hairs anywhere outside the home and carried

   them to the comforter. The expert also admitted that Dukes's hair could have gotten on

   the comforter when he lived in the house and sometimes visited Lucy.

45. An expert on DNA comparisons compared the DNA from the two hairs from the

   comforter to Dukes's DNA. He found that the DNA matched at two loci, and he
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   estimated that about one Caucasian person in 1300 would match the hair's DNA at

   those two loci.

46. Defendant Washburn testified about the January 10, 2004, interview with Dukes. After

   the prosecution elicited all of the statements the trial court permitted, defense counsel,

   on cross-examination, elicited Washburn's testimony that Dukes sought a sentence of

   20 years, and a sentence of 40 years, in exchange for his statement.

47. Defendant Sobczak testified that when she questioned Dukes in 1995, she asked him

   about his relationship with Lucy. According to Sobczak, Dukes "kept on and on about

   how she liked rough sex, and that they wanted each other and he would have sex with

   her and she wanted him and little detail like about roughness and stuff of sex."

48. When defense counsel objected, the prosecutor promised to show the relevance of the

   testimony to motive. The judge overruled the objection.

49. Sobczak testified that she asked Dukes why he had Lucy's picture from her drivers

   license in his wallet. She claimed Dukes said Marilyn asked him to stop Lucy from

   marrying Kevin. After Dukes had sex with Lucy the night before her wedding, Dukes

   took all of Lucy's identification cards, thinking that she could not complete the civil

   ceremony without any identification.

50. Dukes told Sobczak that on August 28, 1993, he spent the afternoon with a friend, then

   he went to another friend's home, then he stayed at a crack house for the night.

51. Sobczak claimed that in 2004 she found the crack house where Dukes said he stayed,

   and she verified that he did not spend the night there on August 28, 1993. Neither party

   asked Sobczak what she did, in 2004, to verify that Dukes had not spent a specific night

   at the crack house in 1993.
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52. Lucy testified that when she arrived at the courthouse for her wedding on July 24, 1993,

   she found that she had no identification cards. However, she had her birth certificate,

   and the court accepted that as sufficient identification for the ceremony.

53. Lucy saw Dukes a few times after the wedding. He gave her back her identification

   cards. Another time he came into the place where she worked as a cocktail waitress.

   She told Dukes their relationship was over. Dukes remained calm, and he "never

   seemed like he was angry or any emotions actually, none." Lucy testified that she did

   not like rough sex, and she never said to Dukes that she liked rough sex. Dukes's

   attorney moved to strike as irrelevant all references to rough sex. The trial court denied

   the motion.

54. Tomazovich testified that he had a "love/hate" relationship with Marilyn. He

   explained, "We always argued and ten minutes later she would bring me down a pot of

   food." When they argued, he said things he did not mean. The parties stipulated that

   Tomazovich threatened to kill Marilyn after she and Lucy served him with an eviction

   notice in the summer of 1993.

55. Tomazovich extensively recounted the events of August 28, 1993. He claimed that

   around 10 p.m. that evening, Dukes came by Tomazovich's home with some beer. After

   they drank some, Dukes asked Tomazovich for money. Tomazovich said he had none.

56. Dukes suggested that they could ask Marilyn for money. Tomazovich and other persons

   often borrowed money from Marilyn. Tomazovich and Dukes went upstairs and

   Tomazovich knocked on Marilyn's door. Marilyn let him in, and agreed to give him $5.

57. When Marilyn saw Dukes behind Tomazovich, she started yelling at Dukes and Dukes

   yelled back. Dukes knocked Marilyn down and started choking her. Tomazovich tried
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   to pull Dukes off Marilyn, but Dukes swung a fist and hit Tomazovich in the head.

   Marilyn tried to get up, but Dukes got back on top of her and choked her. He told

   Tomazovich to hold Marilyn's legs. Tomazovich did so. He let go quickly, but Marilyn

   was quiet and not moving. Dukes rummaged through the home, apparently looking for

   cash.

58. Tomazovich testified that he saw Dukes carry Bridget into the bedroom. Tomazovich

   followed and saw that Dukes had taken Bridget's pants off. Tomazovich said, "[W]hat

   the fuck." Dukes hit Tomazovich in the chest. Tomazovich watched Dukes rape

   Bridget. Tomazovich tried to grab Bridget, and Dukes hit Tomazovich repeatedly and

   pushed him out of the bedroom. When Dukes came out of the quiet bedroom, he told

   Tomazovich to help him carry Marilyn into the bathroom. Dukes then carried Bridget

   into the bathroom. Dukes threatened to do the same to Tomazovich's children if

   Tomazovich said anything.

59. Tomazovich went downstairs to his home and took off his soiled clothes. He testified

   that he did not remember how he got blood on his clothes, but he thought his nose

   might have bled.

60. To persuade the jury that Tomazovich had not concocted his account of the murder in

   response to police questioning, years after the crimes took place, the prosecutor asked

   Tomazovich about a conversation between Tomazovich and his friend, Arlene Kwil, a

   few days after the murders. The jury heard the following:

   "Q. What did you say to Arlene Kwil?

   A. I started venting about how I couldn't help the kids out.

   Q. Did you say words to the effect that you couldn't stop him?
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   A. Yes.

   Q. Who were you referring to?

   A. Dukes.

   Q. A few days after that *** were you then spoken to again by the police?

   A. Yes.

   Q. Did they confront you with what *** you had told Arlene Kwiil?

   A. Right.

   Q. What did you say?

   A. I believe I told them I didn't know nothing."

61. In closing argument, the prosecutor emphasized Dukes's confession, and said that the

   lack of Bridget's blood on Tomazovich's clothing showed that Tomazovich told the

   truth.

62. The jury found Dukes guilty of the first degree murders of Marilyn and Bridget. The

   trial court denied Dukes's motion for a new trial and sentenced him to natural life in

   prison.

   Additional Facts Relating to William Dukes’ Interrogation

63. Dukes was arrested on January 9, 2004 on drugs and weapons charges.

64. He was interrogated for 36 hours, almost continuously, including a period when he was

   surreptitiously interrogated and recorded by defendant Brian Killacky, who was placed

   in Dukes’s cell.

65. Dukes was also interrogated by defendants Washburn, Rodriguez, Donnegan, and

   Pineda.

66. Throughout the interrogation, Dukes was not given Miranda warnings.
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67. At numerous points during the interrogation, Dukes asked for counsel, and was refused.

                                      Further Proceedings

68. On appeal, the appellate court reversed and remanded for a new trial. The court found

   that the trial court erred when it denied Dukes’s motion to suppress the statements he

   alleged made to defendant Washburn, because these statements were part of plea

   negotiations with the state, (2) the court erred when it denied references to “rough sex,”

   and (3) the court erred when it allowed Tomazovich to testify about his conversation

   with Kwil.

69. On remand, Dukes waived his right to a jury trial and took a bench trial.

70. With the exception of the evidence which the appellate court said should have been

   excluded, consisting of William Dukes’s “confession,” the references to rough sex, and

   Tomazovich’s conversation with Kwil, the parties stipulated to the evidence from the

   first trial.

71. On July 11, 2019, William Dukes was acquitted of all charges.

COUNT I – VIOLATION OF DUE PROCESS BY FABRICATION OF A FALSE
 CUSTODIAL CONFESSION, ALLEGEDLY MADE BY WILLIAM DUKES

                  (DEFENDANTS WASHBURN AND RODRIGUEZ)

72. William Dukes realleges all previous paragraphs and incorporate them into this count

   by reference.

73. Defendant Washburn, acting in concert with defendant Rodriguez, authored a fabricated

   police report, in which Washburn claimed that "[W]ell, I'm going to tell them about my

   participation in the murders of Marilyn and Bridget." Washburn falsely claimed that he
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   then asked, "What are you going to say? That you killed Marilyn and Bridget?" Walsh

   also claimed that Dukes answered, "[Y]es, yes, I am."

74. Washburn conveyed this information to the prosecutors and testified to these false

   statements at trial.

75. These statements were a material factor in William Dukes’s conviction and deprived

   him of his fourteenth amendment right to due process.

   COUNT II – VIOLATION OF DUE PROCESS BY FABRICATION OF FALSE
   OUT OF COURT STATEMENTS ALLEGEDLY MADE BY WILLIAM DUKES
   (DEFENDANT SOBCZAK)

76. William Dukes realleges all previous paragraphs and incorporates them by reference.

77. Defendant Darlene Sobczak authored a fabricated police report in which she stated that

   William Dukes made the following statements to her: (1) that Lucy liked “rough sex,”

   (2) that after Dukes had sex with Lucy the night before her wedding, Dukes took all of

   Lucy's identification cards, thinking that she could not complete the civil ceremony,

   and (3) that this was an explanation as to why Dukes without any identification. and

   that they wanted each other and he would have sex with her and she wanted him and

   little detail like about roughness and stuff of sex."

78. Sobczak authored a fabricated police report in which she claimed that William Dukes

   gave her the address of a “crack house” as an alibi, and falsely stated that she had

   disproved this alibi.

79. Sobczak conveyed this information to the prosecutors and testified to these false

   statements at trial.

80. These statements were a material factor in William Dukes’s conviction and deprived

   him of his fourteenth amendment right to due process.
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COUNT III – VIOLATION OF FOURTEENTH AMENDMENT DUE PROCESS BY
ELICITATION OF COERCED INVOLUNTARY STATEMENTS

(DEFENDANTS WASHBURN, RODRIGUEZ, DONEGAN, PINEDA, AND
KILLACKY)


81. William Dukes realleges all previous paragraphs and incorporates them by reference.

82. Any statements William Dukes made during his interrogation were involuntary, based

   upon the length, manner, and tone of the interrogation, the use of an undisclosed

   undercover officer as an interrogator, William Dukes’s physical and mental condition,

   the use of promises and threats, the denial of counsel, and the absence of Miranda

   warnings.

83. Defendants Washburn, Rodriguez, Donegan, Pineda, and Killacky acting individually

   and in concert, denied William Dukes his fourteenth amendment due process rights by

   conducting the interrogation in this manner, as well as by denying him his right to

   counsel and failing to give him Miranda warnings.

   COUNT IV – VIOLATION OF WILLIAM DUKES’S FIFTH AND
   FOURTEENTH DUE PROCESS RIGHTS BY THE ELICITATION OF
   STATEMENTS WITHOUT GIVING OF MIRANDA WARNINGS


   (DEFENDANTS WASHBURN, RODRIGUEZ, DONEGAN, PINEDA, AND
   KILLACKY)


84. William Dukes realleges all previous paragraphs and incorporates them by reference.

85. Any statements William Dukes made during his interrogation were taken in violation of

   his fifth and fourteenth amendment rights when he was interrogated by defendants

   defendants Washburn, Rodriguez, Donegan, Pineda, and Killacky acting individually
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   and in concert, denied William Dukes his fourteenth amendment due process rights by

   interrogating him without giving him Miranda warnings.

   COUNT V – VIOLATION OF WILLIAM DUKES’S FIFTH AND
   FOURTEENTH DUE PROCESS RIGHTS BY IGNORING WILLIAM DUKES’S
   ASSERTION OF HIS RIGHT TO COUNSEL AND BY CONTINUING TO
   QUESTION HIM AFTER HE REQUESTED A LAWYER


   (DEFENDANTS WASHBURN, RODRIGUEZ, DONEGAN, PINEDA, AND
   KILLACKY)


86. William Dukes realleges all previous paragraphs and incorporates them by reference.

87. Any statements William Dukes made during his interrogation were taken in violation of

   his fifth and fourteenth amendment rights when he was interrogated by defendants

   Washburn, Rodriguez, Donegan, Pineda, and Killacky acting individually and in

   concert, after William Dukes asserted his right to counsel on numerous occasions and

   requested a lawyer.

   COUNT VI – INDEMINIFICATION

   (DEFENDANT CITY OF CHICAGO)

88. William Dukes realleges all previous paragraphs and incorporated them by reference.

89. Illinois law provides that public entities, such as defendant City of Chicago are directed

   to pay any compensatory damages on a tort judgment against an employee who was

   acting within the scope of his or her employment.

90. At all relevant time, defendants Washburn and Rodriguez were agents of defendant

   City of Chicago and of the Chicago Police Department acting within the scope of their

   employment. Defendant City of Chicago, therefore, is liable as principal for all torts

   committed by its agents, defendants Washburn and Rodriguez.
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   COUNT VII – INDEMINIFICATION

   (DEFENDANT CITY OF CICERO)

91. William Dukes realleges all previous paragraphs and incorporated them by reference.

92. Illinois law provides that public entities, such as defendant City of Cicero are directed

   to pay any compensatory damages on a tort judgment against an employee who was

   acting within the scope of his or her employment.

93. At all relevant time, defendants Donegan, Pineda, and Sobczak were agents of

   defendant City of Cicero and of the Cicero Police Department acting within the scope

   of their employment. Defendant City of Cicero, therefore, is liable as principal for all

   torts committed by its agents, defendants Donegan, Pineda, and Sobczak.

   COUNT VIII – INDEMINIFICATION

   (DEFENDANT KIM FOXX, COOK COUNTY STATES ATTORNEY)

94. William Dukes realleges all previous paragraphs and incorporated them by reference.

95. Illinois law provides that public entities, such as defendant Kim Foxx, Cook County

   States Attorney, are directed to pay any compensatory damages on a tort judgment

   against an employee who was acting within the scope of his or her employment.

96. At all relevant time, defendant Killacky was an agent of defendant Kim Foxx, Cook

   County States Attorney, acting within the scope of his employment. Defendant Kim

   City of Cicero, therefore, is liable as principal for all torts committed by her agent,

   defendant Killacky.

                                    PRAYER FOR RELIEF
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 WHEREFORE, William Dukes requests this honorable court to grant William Dukes

 judgment against all defendants in a fair and just amount. Specifically William Dukes

 prays for both compensatory and punitive damages against all defendants in addition to

 costs and reasonable attorney’s fees and all other relief as this court finds just and

 reasonable.

                              DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), plaintiff William Dukes

 demands trial by jury for all the issues pleaded.

                                                Plaintiff, William Dukes

                                                 /s/ Stephen L. Richards

                                                        By: Stephen L. Richards
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                                                            Chicago, IL 60604
                                                            773-817-6927
                                                            Sricha5461@aol.com
                                                            Attorney No: 6191946
